        Case 1:21-cr-00175-TJK Document 348-9 Filed 04/29/22 Page 1 of 2




                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530




                                                     April 7, 2022

Via Email and Electronic File Transfer

 Nicholas Smith                                   Carmen D. Hernandez
 David Smith                                      Counsel for Zachary Rehl
 Counsel for Ethan Nordean
                                                  Nayib Hassan
 J. Daniel Hull                                   Sabino Jauregui
 Counsel for Joseph Biggs                         Counsel for Enrique Tarrio

 Lisa Costner                                     Steven Metcalf II
 Ira Knight                                       Martin Tankleff
 Counsel for Charles Donohoe                      Counsel for Dominic Pezzola

                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

        I write to memorialize additional productions related to the above-captioned case as part
of the government’s efforts to produce preliminary discovery on an ongoing basis.

       Today the government made available via USAfx the following items:

           •    GJ Transcript and Exhibits

       The GJ Transcript and Exhibits are designated Sensitive under the protective orders.

         Please let us know if you have been unable to access and download the materials for your
use in this case. To assist our future productions of discovery, we would again request that you
return external hard drives that we have supplied, once you have had an opportunity to copy the
materials.
        Case 1:21-cr-00175-TJK Document 348-9 Filed 04/29/22 Page 2 of 2




       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                   Sincerely yours,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY

                                            By:           /s/
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